Case 8:21-bk-11710-ES        Doc 203 Filed 08/26/22 Entered 08/26/22 09:34:38              Desc
                              Main Document     Page 1 of 8



 1 JAMIE LYNN GALLIAN, DEBTOR
   16222 Monterey Lane, Unit 376
 2 Huntington Beach, CA 92649

 3 (714)321-3449
   jamiegallian@gmail.com
 4 IN PRO PER

 5

 6

 7

 8                            UNITED STATES BANKRUPTCY COURT

 9                             CENTRAL DISTRICT OF CALIFORNIA

10                                      SANTA ANA DIVISION

11
     In re                                               Case No. 8:21-bk-11710-ES
12
     JAMIE LYNN GALLIAN,                                 Chapter 7
13
                                      DEBTOR'S NOTICE TO TRUSTEE TO
14                 Debtor.            ABANDON ESTATE’S INTEREST IN
                                      REINVESTED FUNDS FROM SALE OF
15                                    UNIT 53, 10/31/2018 APN 937-630-53 TO
                                      PURCHASE LBM1081 ON NOVEMBER 1,
16                                    2018, AND AGAINST JAMIE LYNN
                                      GALLIAN RELATING TO THE
17                                    PURCHASE IN THE PERSONAL
                                      PROPERTY COMMONLY KNOWN AS
18                                    16222 MONTEREY LN #376,
                                      HUNTINGTON BEACH, CALIFORNIA
19                                    92649
                                      [No Hearing Required]
20   TO ALL CREDITORS AND INTERESTED PARTIES:
21           PLEASE TAKE NOTICE THAT JAMIE LYNN GALLIAN (the “Debtor”) in the
22 bankruptcy estate (the “Estate”) of Jamie Lynn Gallian (the “Debtor”), seeks to have Jeffrey I

23 Golden ("Trustee") abandon the Estate’s interest in debtor's personal residence she resides in and

24 against Jamie Lynn Gallian (“Gallian”) arising solely out of the purchase on November 1, 2018

25 with reinvested proceeds (the “Reinvested Proceeds”) in the property commonly known as

26 16222 Monterey Lane Dr. Unit 376 , Huntington Beach, California 92649 (the “Property”) to
27 Gallian, including any claims under the Uniform Voidable Transactions Act (California Civil

28 Code §§ 3439 et seq.) and 11 U.S.C. § 544.
                                                     1
Case 8:21-bk-11710-ES         Doc 203 Filed 08/26/22 Entered 08/26/22 09:34:38                  Desc
                               Main Document     Page 2 of 8



 1
               The Debtor has investigated the Claims relating to the Purchase of the Property Unit 376,
 2
      November 1, 2018, with the funds re-invested from the sale of Unit 53, October 31, 2018, and has
 3
     concluded that there is little to no value to the Estate in pursuing the Claims because the Trustee is
 4
     not likely to recover more than the fees, perfected liens, and costs to be incurred by the Estate.
 5
     Accordingly, the Debtor believes that the Claims are burdensome to the Estate and of
 6
     inconsequential value to the Estate. Therefore, the Debtor hereby gives notice of her request the
 7
     Trustee to abandon the personal property LBM1081.
 8
            NOTICE IS ALSO GIVEN that, pursuant to Local Bankruptcy Rule 6007-1 and
 9
     9013-1(o)(3), any objection and request for a hearing must, not later than fourteen days from the
10
     date of service of this notice, plus an additional three days if served by mail or pursuant to
11
     Fed. R. Civ. P. 5(b)(2)(D) or (F), be filed with the Clerk of the Bankruptcy Court and served on:
12
     (Jamie Lynn Gallian 16222 Monterey Lane Unit 376 Huntington Beach, CA 92649 whose address
13
     is listed on the top left hand corner (2) Jeffrey I. Golden, Trustee, 650 Town Center Drive, Suite
14
     600, Costa Mesa, CA 92626; (3) the Office of the United States Trustee at 411 West Fourth Street,
15
     Suite 7160, Santa Ana, CA 92701;
16
            Pursuant to Local Bankruptcy Rule 6007-1(d), if no timely objection and request for a
17
     hearing are filed and served, the Trustee will take the intended action without further notice or
18
     order of the Court. Any objections not timely filed and properly served will be deemed waived.
19
            Pursuant to Local Bankruptcy Rule 6007-1(d)(2), aftr 14 days, plus 3 days if mailed, the
20
     Debtor may lodge a proposed order confirming the Trustee abandonment of Unit 376, but is not
21
     required to do so.
22

23

24

25

26
     DATED: August 25, 2022                      By: JAMIE LYNN GALLIAN
27
     DATE OF MAILING: August 25, 2022
28
                                                        2
      Case 8:21-bk-11710-ES                   Doc 203 Filed 08/26/22 Entered 08/26/22 09:34:38                                      Desc
                                               Main Document     Page 3 of 8
                                     PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 5801
Skylab Road Huntington Beach, CA 92649

A true and correct copy of the foregoing document entitled (specify): DEBTORS NOTICE TO TRUSTEE TO
ABANDON ESTATE’S INTEREST IN CLAIMS AGAINST JAMIE LYNN GALLIAN RELATING TO THE NOVEMBER 1,
2018, RE-INVESTMENT OF PROCEEDS FROM SALE OF UNIT 53 OCTOBER 31, 2018, TO DEBTORS PERSONAL
RESIDENCE, UNIT 376, THE PROPERTY COMMONLY KNOWN AS 16222 MONTEREY LANE. #376, HUNTINGTON
BEACH, CALIFORNIA 92649 will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
           Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document.
 On August 25, 2022 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
   that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses
                                                                                                          stated below:

                                                                                     Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL: On                        , I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by causing to be placed a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                    Service information continued on attached page.

        3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
                          method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
 (date)                      , I served the following persons and/or entities by personal delivery, overnight mail service,
     or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
         Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
       completed no later than 24 hours after the document is filed. Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 August 25, 2022                         ROBERT MCLELLAND
 Date                                    Printed Name                                          Signature




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
     Case 8:21-bk-11710-ES                  Doc 203 Filed 08/26/22 Entered 08/26/22 09:34:38                                       Desc
                                              Main Document
                                            ADDITIONAL              Page 4
                                                       SERVICE INFORMATION (if of 8
                                                                               needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

Aaron E DE Leest on behalf of Trustee Jeffrey I Golden (TR)
adeleest@DanningGill.com, danninggill@gmail.com;adeleest@ecf.inforuptcy.com

Robert P Goe on behalf of Creditor The Huntington Beach Gables Homeowners Association
kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com

Robert P Goe on behalf of Plaintiff The Huntington Beach Gables Homeowners Association
kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com

Jeffrey I Golden (TR)
lwerner@wgllp.com, jig@trustesolutions.net;kadele@wgllp.com

D Edward Hays on behalf of Creditor Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates
ehays@marshackhays.com,
ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.c
ourtdrive.com

D Edward Hays on behalf of Interested Party Courtesy NEF
ehays@marshackhays.com,
ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.c
ourtdrive.com

D Edward Hays on behalf of Plaintiff Houser Bros. Co.
ehays@marshackhays.com,
ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.c
ourtdrive.com

Brandon J Iskander on behalf of Creditor The Huntington Beach Gables Homeowners Association
biskander@goeforlaw.com, kmurphy@goeforlaw.com

Brandon J Iskander on behalf of Plaintiff The Huntington Beach Gables Homeowners Association
biskander@goeforlaw.com, kmurphy@goeforlaw.com

Eric P Israel on behalf of Trustee Jeffrey I Golden (TR)
eisrael@DanningGill.com, danninggill@gmail.com;eisrael@ecf.inforuptcy.com

Laila Masud on behalf of Creditor Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates
lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Laila Masud on behalf of Interested Party Courtesy NEF
lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Laila Masud on behalf of Plaintiff Houser Bros. Co.
lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Mark A Mellor on behalf of Defendant Randall L Nickel
mail@mellorlawfirm.com, mellormr79158@notify.bestcase.com

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June 2012                                                                                   F 9013-3.1.PROOF.SERVICE
      Case 8:21-bk-11710-ES                   Doc 203 Filed 08/26/22 Entered 08/26/22 09:34:38                                      Desc
                                               Main Document     Page 5 of 8

Mark A Mellor on behalf of Interested Party Courtesy NEF
mail@mellorlawfirm.com, mellormr79158@notify.bestcase.com

Valerie Smith on behalf of Interested Party Courtesy NEF claims@recoverycorp.com

United States Trustee (SA)            ustpregion16.sa.ecf@usdoj.gov

2. SERVED BY U.S. MAIL

 Debtor                                           The Honorable Erithe Smith
 Jamie Lynn Gallian                               U.S. Bankruptcy Court
 16222 Monterey Ln SP #376                        411 West Fourth Street, Suite 5040
 Huntington Beach, CA 92649                       Santa Ana, CA 92701-4593


                                                                                                     Houser Bros. Co. dba Rancho Del Rey
 Employment Development Dept.                     Franchise Tax Board
                                                                                                     Mobile H
 Bankruptcy Group MIC 92E                         Bankruptcy Section MS: A-340
                                                                                                     c/o Marshack Hays LLP
 P.O. Box 826880                                  P.O. Box 2952
                                                                                                     870 Roosevelt
 Sacramento, CA 94280-0001                        Sacramento, CA 95812-2952
                                                                                                     Irvine, CA 92620-3663

                                                                                                     BS Investors
                                                                                                     Robert P. Warmington C/o
 Santa Ana Division                               Association of Flight Attendants
                                                                                                     Gorden May Grant, Genovese &
 411 West Fourth Street, Suite 2030,              625 No. River Road Ste. 4020
                                                                                                     Baratta
 Santa Ana, CA 92701-4500                         Rosemont, IL. 60018
                                                                                                     2030 Hain St. Ste. 1600
                                                                                                     Irvine, CA 92614

 County of Orange
                                                  David R. Flyer                                     Feldsott & Lee
 c/o Treasurer-Tax Collector
                                                  4120 Birch St. Ste. 101,                           23161 Mill Creek Drive Ste 30O
 P.O. Box 4515
                                                  Newport Beach, CA 92660-2228                       Laguna Hills, CA 92653-7907
 Santa Ana CA 92702-4515


 Frank Satalino
                                                  Gordon Rees Scully & Mansukhani                    Gordon Rees Scully & Mansukhani
 19 Velarde Ct.
                                                  5 Park Plaza Ste. 1100                             633 W 5th Street, 52nd Floor
 Rancho Santa Margarita, CA 92688-
                                                  Irvine, CA 92614-8502                              Los Angeles, CA 90071-2005
 8502


 Houser Bros. Co.                                 Houser Bros. Co.dba Rancho De1                     Houser Brothers Co.
 DBA Rancho De1 Rey Estates                       Rey Mobile Home Estates                            dba Rancho Del Rey Mobilehome Est.
 16222 Monterey Ln                                17610 Beach Blvd Ste. 32                           17610 Beach Blvd. Ste. 32
 Huntington Beachr CA 92649-6214                  Huntington Beach, CA 92647-6876                    Huntington Beach, CA 92647-6876


                                                  Huntington Beach Gables
 Huntington Beach Gables H0A
                                                  Homeowners Associati                               Huntington Harbor Village
 c/o Feldsott & Lee
                                                  Epstein, Grinnel & Howell, APC                     16400 Saybrook
 23161 Mill Creek Dr. Ste. 300 Laguna
                                                  10200 Willow Creek Rd Ste 100                      Huntington Beach, CA 92649-2277
 Hllls, CA 92653-7907
                                                  San Diego CA 92131-1655




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June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
      Case 8:21-bk-11710-ES                   Doc 203 Filed 08/26/22 Entered 08/26/22 09:34:38                                      Desc
                                               Main Document     Page 6 of 8

                                                                                                     Huntington Mobile Home Investments
 Huntington Hobile Home Inv. LLC.                 Huntington Mobile Home Investments
                                                                                                     LLC
 430 S. San Dimas Ave.                            16400 Saybrook Lane
                                                                                                     1100 Newport Beach Blvd. Ste 1150
 San Dimasa CA 91773-4045                         Huntington Beach, CA 92649-2277
                                                                                                     Newport Beach, CA 92560



 Internal Revenue Service Insolvency              James H Cosello                                    Internal Revenue Service
 P0 B0X 7346                                      Casello & Lincoln,                                 PO Box 7346
 Philadelphia, PA 19101-7346                      525 N Cabrillo Park Dr. Ste 1O4                    Philadelphia, 19101-7346
                                                  Santa Ana, CA 92701-5017


                                                                                                     J-pad, LLC
                                                  Jennifer Paulin                                    21742 Anza Avenue
 Janine Jasso                                     4446 Alderport Dr.                                 Torrance, CA 90503-6428
 16025 Warmington Lane                            Huntington Beach, CA 92649-2286
 Huntington Beach, CA 92649-2278


                                                                                                     Jamie Lynn Gallian
 Lee Gragnano                                     Lindy Beck                                         16222 Monterey Ln #376 Huntington
 16062 Warmington Ave.                            4443 Chase Dr.                                     Beach, CA 92649-2258
 Huntington Beach, CA 92649-2285                  Huntington Beach, CA 92649-2297

                                                                                                     Lisa T. Ryan
                                                                                                     20949 Lassen St. Apt 208
                                                                                                     Chatsworth, CA 91311-4239


                                                                                                     Lori Burrett
                                                                                                     16107 Sherlock Lane
                                                                                                     Huntington Beach, CA 92649-2293




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June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
     Case 8:21-bk-11710-ES                   Doc 203 Filed 08/26/22 Entered 08/26/22 09:34:38                                      Desc
                                              Main Document     Page 7 of 8

 Mark A.Mellor Mellor Law Firm                   Orange County Public Defender
 c/o Randall Nickell                             801 Civic Center Dr
 6800 Indiana Ave.                               West Santa Ana, CA 92702
 Riverside, CA 92506-4267


                                                 People of the St of CA
 Orange County Alternate Defender
                                                 8141 13th St
 600 Santa Ana Blvd, Ste 600
                                                 Westminster CA 92683-4576
 Santa Ana CA 92701-4552


                                                 Randell Nickel
 Patricia Ryan                                   c/o Mark Mellor, Esq.
 20949 Lassen St. Apt 208                        6800 Indiana Ave. Ste. 220
 Chattsworth, CA 91311-4239                      Riverside, CA 92506-4267


                                                 S4 A California Limited Partnership
 Randall Nickell                                 1001 Cove St Ste 230
 4476 Alderport Dr.                              Newport Beach CA 92660
 Huntington Beach. CA 92649-2288


                                                 Stanley Feldsott: Esq
                                                 Feldsott & Lee
 Rutan & Tucker
                                                 23161 Mill Creek Drive
 18575 Jamboree Rd 9th Fl
                                                 Laguna Hills, CA 92653-7907
 Irvine CA 92612-2559



 Superior Court of CA
 County of Orange
 711 Civic Center Dr West
 Santa Ana CA 92701-3907



 Ted Phillips
 17142 Sandra Lee
 Huntington Beach, CA 92649




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June 2012                                                                                   F 9013-3.1.PROOF.SERVICE
     Case 8:21-bk-11710-ES                    Doc 203 Filed 08/26/22 Entered 08/26/22 09:34:38                                      Desc
                                               Main Document     Page 8 of 8
 The Huntington Beach Gables                      The Huntington Beach Gables
 Homeowners Association                           Homeowners Assoc
 c/o Epsten Grinnell & Howell,                    c/o Goe Forsythe & Hodges LLP
 APC 10200 Willow Creek Road,
 Ste 100
 San Diego, CA 92131                              US BANK
                                                  PO BOX 5229
                                                  CINCINNATI OH 45201-5229



                                                                                                     Vivienne J Alston
                                                  United States Trustee (SA)
                                                                                                     Alston, Alston & Diebold
                                                  411 W Fourth St., Suite 7160
                                                                                                     27201 Puerta Real Ste 300 Mission
                                                  Santa Ana, CA 92701-4500
                                                                                                     Viejo, CA 92691-8590
 Jennifer Paulin
 4446 Alderport Dr.
 Huntington Beach, CA 92649-2286
                                                  Janine Jasso                                       Jamie Lynn Gallian
                                                  16025 Warmington Lane                              16222 Monterey Ln Unit 376
                                                  Huntington Beach CA 92649-2278                     Huntington Beach, CA 92649-2258
 Jeffrey I Golden (TR)
 650 Town Center Drive, Suite 600
 Costa Mesa, CA 92626-7121




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